     Case 1:17-cr-00046-RBW Document 99 Filed 02/28/18 Page 1 of 28   1




 1                  IN THE UNITED STATES DISTRICT COURT

 2                     FOR THE DISTRICT OF COLUMBIA

 3   UNITED STATES OF AMERICA       .
                     Plaintiff,     .
 4   vs.                            .      Docket No. CR 17-46
                                    .
 5   KASSIM TAJIDEEN                .      Washington, D.C.
                                    .      February 16, 2018
 6                   Defendant.     .
     . . . . . . . . . . . . . . . .x      10:07 a.m.
 7

 8                    TRANSCRIPT OF STATUS CONFERENCE

 9        BEFORE THE HONORABLE SENIOR JUDGE REGGIE B. WALTON

10                     UNITED STATES DISTRICT JUDGE

11   APPEARANCES:

12   For the Government:    Thomas A. Gillice, AUSA
                            Jacqueline L. Barkett, AUSA
13                          UNITED STATES ATTORNEY'S OFFICE
                            National Security Section
14                          555 Fourth Street, NW
                            Washington, DC 22205
15
                            Joseph Palazzo, Attorney-at-Law
16                          U.S. DEPARTMENT OF JUSTICE
                            Bond Building
17                          1400 New York Avenue, NW
                            Washington, DC 20530
18
                            Maia Luckner Miller, AUSA
19                          UNITED STATES ATTORNEY'S OFFICE
                            Department of Justice
20                          One St. Andrews Plaza
                            New York, NY 10007
21

22
     For the Defendant:     Eric Delinsky, Esquire
23                          William Taylor, III, Esquire
                            Steven Herman, Esquire
24                          ZUCKERMAN SPAEDER
                            1800 M Street, NW - Suite 1000
25                          Washington, DC 20036-580
     Case 1:17-cr-00046-RBW Document 99 Filed 02/28/18 Page 2 of 28   2




 1   Court Reporter:   Cathryn J. Jones, RPR
                       Official Court Reporter
 2                     Room 6521, U.S. District Court
                       333 Constitution Avenue, N.W.
 3                     Washington, D.C. 20001

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     Case 1:17-cr-00046-RBW Document 99 Filed 02/28/18 Page 3 of 28        3




 1                         P R O C E E D I N G S

 2                THE DEPUTY CLERK:      Your Honor, this morning this

 3   is the matter of United States versus Kassim Tajideen.

 4   Criminal Record 17-46.        Ask the parties to step forward and

 5   identify yourselves for the record, please.

 6                MR. GILLICE:     Your Honor, good morning, Tom

 7   Gillice, along with Maia Miller from the U.S. Attorney's

 8   office in DC, and Joe Palazzo from the Department of

 9   Justice.

10                THE COURT:     Good morning.

11                MR. TAYLOR:     Good morning, your Honor, William

12   Taylor and Eric Delinsky from Zuckerman Spaeder along with

13   Steven Herman from our office.

14                THE COURT:     Good morning.   There are a couple of

15   things we need to address today.

16                [Brief pause.]

17                THE COURT:     Okay.   There are a couple of matters I

18   needed to address today.        One related to the proposed

19   scheduling order.     I didn't have any problems with any of

20   the proposed dates.        There were two issues that the parties

21   had that you couldn't resolve.         One of those related to

22   whether the defense should be required to seek leave of

23   Court to file any additional dispositive motions after

24   March 2nd.

25                What's the government's theory as to why that
     Case 1:17-cr-00046-RBW Document 99 Filed 02/28/18 Page 4 of 28      4




 1   would be appropriate?      I don't see how I could deny them the

 2   opportunity to file such motions after that date if they

 3   deem it appropriate?

 4              MR. GILLICE:     Agreed, your Honor.    We do not seek

 5   to deny them to have the Court deny them leave either, but

 6   what we do seek is some date, some cut-off date when the

 7   defendant will have looked at what is in front of him, and

 8   determined what he believes to be dispositive so that we

 9   don't face dispositive motions going forward into what is

10   obviously going to be a substantial trial.

11              So we're just looking for some sort of cut-off

12   date.   And obviously if something new were to come up that

13   the defendant suddenly realized then he would just file

14   leave with the Court to file a new motion as opposed to

15   having carte blanche to just keep filing them whenever the

16   thought rose.

17              THE COURT:     I think the only thing I probably

18   would do is put in the order the fact that counsel has an

19   obligation as soon as they become aware of a legal basis for

20   a dispositive motion to file that motion expeditiously

21   rather than requiring that they have to seek leave of Court.

22   I don't see what predicate I would have to deny them

23   assuming that they were filing expeditiously after they

24   realized there was a legal basis to do so, so I'll add

25   something to that effect to the proposed order.
     Case 1:17-cr-00046-RBW Document 99 Filed 02/28/18 Page 5 of 28          5




 1              MR. GILLICE:     Thank you.    That would satisfy the

 2   government.

 3              THE COURT:     Second issue related to the production

 4   of any Jencks material.      As you know, in the statute it does

 5   not require the government to produce Jencks material until

 6   after a witness has actually testified.       Obviously, that is

 7   not workable in any case particularly in a case of this

 8   nature.   So obviously the government needs to produce the

 9   material at a time that's not going to cause delay.         But I

10   don't think I have the authority to tell the government a

11   particular time, months, weeks before the trial starts that

12   they have to produce the material.        The only thing I would

13   indicate is that they will need to produce that material

14   throughout the trial at a time sufficient so that we don't

15   have any delays.

16              MR. GILLICE:     Of course.

17              THE COURT:     Okay.   The other issue was the

18   pretrial hearing date and when that should be held, and my

19   inclination would be to hold it on the 26th of September.           I

20   think that's the best day for me.        And that was one of the

21   dates that counsel indicated would be acceptable as an

22   alternative to the October 1st date, but the 26th works

23   better for me.     Is that a problem?

24              MR. GILLICE:     Not for the government, your Honor.

25              MR. TAYLOR:     No, your Honor.
     Case 1:17-cr-00046-RBW Document 99 Filed 02/28/18 Page 6 of 28         6




 1               MR. DELINSKY:     No, your Honor.

 2               THE COURT:     Okay.    We'll set it on that date at

 3   two o'clock.

 4               MR. DELINSKY:     Your Honor, may I be heard briefly

 5   on one issue pertaining to the schedule?

 6               THE COURT:     Yes.

 7               MR. DELINSKY:     The government filed a superseding

 8   indictment this morning.

 9               THE COURT:     Right.     I hadn't gotten to that, but I

10   saw that.

11               MR. DELINSKY:     Okay.     We have in, just on a

12   cursory review it came into our phones as we were coming

13   through security.    We simply ask that we have a few days to

14   review that just to make sure there's no changes to any

15   dates we would seek in light of that?

16               THE COURT:     That's fine.     What is the essence of

17   the superseding indictment?

18               MR. GILLICE:     Your Honor, there are no new

19   charges.    There are no new defendants.        There's also no

20   language with regard to Hezbollah in the new indictment, and

21   there are a few other smaller language changes.

22               THE COURT:     That's all?

23               MR. GILLICE:     Correct.

24               THE COURT:     Okay.    The government also filed

25   supplement to the opposition to the defense's second motion
     Case 1:17-cr-00046-RBW Document 99 Filed 02/28/18 Page 7 of 28        7




 1   for pretrial release.      I just got it.   I haven't had a

 2   chance to review it, so I'll have to look at it.         And I will

 3   issue an order within the next week or so on that motion.

 4              There also was an objection to the affidavit which

 5   I had a chance to look at.      I guess I don't appreciate what

 6   exactly the defense would expect to get from this individual

 7   if he were required to testify.      I think since he's

 8   indicated in a sworn document that these conversations did

 9   take place, and obviously he's not going to be able to

10   reveal who the individual or individuals are, that obviously

11   would not be under the circumstances seem to me appropriate.

12   So I don't know exactly what the defense would expect to

13   acquire from him by way of cross-examination.

14              MR. DELINSKY:     Thank you, your Honor.     I'll answer

15   your question directly.      We know the affidavit's hearsay,

16   and we in fact know it's more than hearsay.        We know it's

17   double hearsay.   It's a special agent reporting on paper

18   what he learned from a confidential source.        We don't know

19   if it's triple hearsay, quadruple hearsay, quintuple

20   hearsay.   We know nothing about where the confidential

21   source obtained this information, whether she or he observed

22   it firsthand, secondhand, thirdhand, whether he or she was

23   reporting rumors or innuendo.

24              We don't know.     We have a complete vacuum of

25   information on this point.      We just do not have any idea
     Case 1:17-cr-00046-RBW Document 99 Filed 02/28/18 Page 8 of 28      8




 1   where C1's information came from, where he or she got it.

 2   We don't know how the unnamed persons, whether they were

 3   sheiks or officials or some other persons, but these unnamed

 4   persons referred to in the affidavit sought to secure

 5   Mr. Tajideen's release.

 6             By way of example, the affidavit does not say that

 7   they sought to fund an armed jailbreak in Morocco or

 8   anything to that effect.     The affidavit is silent as to the

 9   means that they were to use.     And this is significant, your

10   Honor, because of course anybody is entitled to use lawful

11   means to secure a defendant's release.       And we do note as to

12   the second venue described in the affidavit raising some sum

13   of millions of dollars to secure Mr. Tajideen's release here

14   that the dates coincide with the filing of the first motion

15   for release.

16             Creating the inference at a minimum those

17   discussions, whatever they were because we don't know what

18   they were, were in support of that lawful effort.         But

19   there's nothing in this affidavit to indicate that these

20   efforts were something short of unlawful, those efforts are

21   not described in any way.

22             Your Honor, I further note on the subject that in

23   your order when we were in court you specifically asked in

24   connection with this affidavit that, that it describe what

25   the sheiks allegedly sought to try and do, and that
     Case 1:17-cr-00046-RBW Document 99 Filed 02/28/18 Page 9 of 28       9




 1   information's just not in there.          The declaration does not

 2   state whether any of the information was corroborated.

 3   There's a summary conclusion at the every end of the

 4   affidavit that says or insinuates other information gathered

 5   from this source over the prior year pertaining to other

 6   subjects had various pieces of it had been corroborated, but

 7   there's no indication that anything in the affidavit was

 8   corroborated.

 9               THE COURT:    Well this one I haven't even decided

10   if I'm going to consider it.       If I ultimately decide that

11   it's something I need to consider in assessing whether the

12   request for release is appropriate I will then revisit the

13   issue as to whether I would need to hear from this agent in

14   court.   I haven't decided if I'm going to even consider it

15   or if I need to consider it.       If I do decide it's

16   appropriate to consider it then I'll let you know and we'll

17   decide how we proceed at that point.

18               MR. DELINSKY:     Very well, your Honor.

19               THE COURT:    I'll try and as I say get an opinion

20   out within the next week or week and a half or so.

21               MR. TAYLOR:     Your Honor?

22               THE COURT:    Yes.

23               MR. TAYLOR:     I don't want to try the Court's

24   patience.    I understood you might entertain a little further

25   argument.
     Case 1:17-cr-00046-RBW Document 99 Filed 02/28/18 Page 10 of 28    10




 1              THE COURT:    On?

 2              MR. TAYLOR:    On release.    I would like five

 3   minutes, if I may.

 4              THE COURT:    Very well.

 5              MR. TAYLOR:    All right.    Your Honor, one thing is

 6   abundantly clear from the government's presentation, and

 7   that is that they seek to have you detain Mr. Tajideen

 8   because they want you to believe that he is a member of or

 9   contributor to a terrorist organization.        Otherwise, we're

10   describing, we're discussing a case in which a man is

11   accused of purchasing chickens and other matters in the

12   United States.    And if they wish to have you consider that

13   he's in fact a risk of flight for this reason.

14              The question is why is he a risk of flight, and

15   why are these conditions not sufficient to assure his

16   appearance?   And they say well, he's a risk of flight

17   because of what we're reporting to the Court that our agent

18   picked up from confidential sources in Lebanon.         And

19   presumedly what they want -- the conclusion they want to

20   draw from that is that whatever was going on -- he was in

21   the Congo actually, I misspoke.

22              The conclusion they want to draw is that this

23   shows there is some danger that is caused by this

24   information, and that this information somehow implicates

25   the conditions under which, which the Court is considering
     Case 1:17-cr-00046-RBW Document 99 Filed 02/28/18 Page 11 of 28     11




 1   as to whether he is reliable to be released.

 2              And at the same time they steadfastly refuse to

 3   provide any information as to why they consider him to be a

 4   member of this organization or to have ties to it.         That's

 5   why the affidavit has to be, and the affiant has to be

 6   cross-examined it seems to me.      If you decide to reject the

 7   affidavit in its entirety for the reasons Mr. Delinsky said

 8   then I suppose our request to cross-examine the witness is

 9   moot.

10              But if you were to take some weight, consider that

11   there is something in that affidavit that bears on whether

12   or not these conditions would assure release then it seems

13   to me we have to have an opportunity to examine this witness

14   for among other things, one that Mr. Delinsky failed to

15   mention.   There are very few things that he fails to

16   mention, is whether or not he's getting paid as a source.

17   Most sources in foreign countries who are working in this

18   capacity are getting some money.

19              We don't know if he's getting money for you know

20   bringing a little information, or whether he's getting a

21   monthly salary.    But all of this seems to want to take your

22   eyes off the real question, that is whether there's anything

23   about what happened or didn't happen in Africa that bears on

24   whether or not he is, he is secure in the conditions that

25   we've outlined.
     Case 1:17-cr-00046-RBW Document 99 Filed 02/28/18 Page 12 of 28     12




 1              I say that the government wants to have courts

 2   consider him a terrorist because, and I know what I'm

 3   talking about.    I want to hand the Court one more exhibit,

 4   Defendant's Exhibit 3, your Honor.       This is the decision of

 5   the Moroccan court on the extradition.

 6              I want to call to your attention the second page.

 7   And it says about halfway down the page, "The facts of the

 8   case may be summarized and the fact that the person whose

 9   handover is being sought is considered by the government of

10   the United States of America to be an internationally

11   recognized terrorist on account of his financial links with

12   Hezbollah."   This is because his activity mainly consists of

13   operating a business network in Lebanon, the United Emirates

14   and Africa.

15              It is proven from the citations of the decision

16   that rule that he be prosecuted due to the fact that he

17   donated millions of dollars to Hezbollah.        They went to the

18   government of Morocco, and said extradite this man because

19   he's a terrorist.    And they stand before you today now with

20   a superceding indictment that takes out every allegation

21   that he fits that description, and they refuse to provide to

22   the Court or to Mr. Tajideen any of the elements.

23              I don't know whether they can prosecute him on

24   this superseding indictment or not.       Because if he wasn't

25   extradited for the crimes which are set forth in this
     Case 1:17-cr-00046-RBW Document 99 Filed 02/28/18 Page 13 of 28    13




 1   superseding indictment we've got a real problem in

 2   international law on the, something called the principle of

 3   specialty.     If someone is extradited for crimes A and B and

 4   C, you can't be prosecuted him for D, E, and F when he gets

 5   back to the host country.

 6                Look, if I hadn't been awake at 11 o'clock last

 7   night looking at my computer, I would not have seen this

 8   memo that came across our desk.      I kind of don't know what

 9   to say about that, your Honor.      It's -- I don't, I don't

10   like to say to an adversary of the court you really

11   shouldn't consider some pleading.       But honestly filing a

12   memo at 11 o'clock before a hearing, the night before a

13   hearing on 10 o'clock the next morning is not the way to do

14   things, nor having negotiated a schedule for motions without

15   telling us that a superseding indictment was coming.          We sat

16   down all last week to negotiate the schedule, could very

17   well have said we're going to return a superseding

18   indictment on the 16th.     We find out when we're walking

19   through security this morning.

20                So with all due respect, your Honor, we ask you to

21   look closely at the real question here whether the

22   conditions we have put forward reasonably assure his

23   appearance at trial.     That's the only question.      And for the

24   life of me I can't figure out whether the government wants

25   you to believe that there's going to be some rescue party
     Case 1:17-cr-00046-RBW Document 99 Filed 02/28/18 Page 14 of 28    14




 1   coming across Northern Virginia from the Congo to spring

 2   Mr. Tajideen, or whether this secondhand source information

 3   is in here simply to make you believe he's a terrorist,

 4   although that's what they say they're not going to

 5   prosecute.

 6                THE COURT:     Anything from the government?

 7                MR. GILLICE:     Yes, thank you, your Honor.

 8                Judge, the issue before the Court today is whether

 9   or not the defendant is a risk of flight, and whether or not

10   there is a combination of conditions that can be fashioned

11   that will reasonably assure his appearance.

12                So defense counsel wants to say that the

13   government is trying to take the Court's eye off the ball.

14   We are focusing on that.        If you look at our pleadings, if

15   you look at basically everything we filed on detention, your

16   Honor, we're not representing the defendant is a terrorist.

17   What we're representing is what the charges are against him

18   here today.     We're not asking you to consider him a member

19   of Hezbollah.     We're asking you to consider that he is

20   charged with a very serious set of charges.

21                The IEEPA tells the president that he has the

22   authority to declare a national emergency in an unusual and

23   extraordinary set of circumstances.        The president did so,

24   and now the defendant finds himself charged with a set of

25   charges that could leave him in jail for a very long period
     Case 1:17-cr-00046-RBW Document 99 Filed 02/28/18 Page 15 of 28      15




 1   of time.

 2                That's what we want the Court to consider.        And

 3   when the Court also takes a look at the defendant and the

 4   history and circumstances of the defendant as we've put

 5   forth in our pleadings on this matter I think the Court will

 6   see that the defendant is a risk of flight.        He has no

 7   connections to the United States.       He has all resources in

 8   the world to speak figuratively, and there is no reason why

 9   he would not seek to go back to Lebanon where there is no

10   extradition treaty with the United States and there would be

11   no recourse.

12                Further, Judge, when you get a chance to look at

13   our pleadings, and the Court has a chance to really consider

14   this Guidepost solution, the third party custodian in

15   essence that the defendant is alleging would keep an eye on

16   the defendant, I submit that you will understand that you

17   will agree with the government that this is not an

18   appropriate circumstance, that having a third party

19   basically stand in the place of the Bureau of Prisons is not

20   the way to make things happen.      That having this third party

21   be paid by the very person they are supposed to be watching

22   is just not an appropriate solution.

23                So with regard to the $20 million dollars and the

24   sheiks, your Honor, that is what it is.        We represented to

25   the Court.     We got the affidavit to the Court, you know.
     Case 1:17-cr-00046-RBW Document 99 Filed 02/28/18 Page 16 of 28      16




 1   They want to ask whether or not the $20 million dollars was

 2   lawful or unlawful, maybe it was a lawful means.         Well, I

 3   can't think of a lawful means in which one could use

 4   $20 million dollars to get someone out of Moroccan custody.

 5              So I would just ask the Court to consider it for

 6   what weight the Court believes it's due, and, but not

 7   certainly take the Court's eye or Court's attention off the

 8   other very important things that we pointed out with regard

 9   to the defendant.    That is, his resources, his lack of ties

10   to the community here.      The very serious charges that are

11   against him, you know, which we believe provides him with an

12   incredible impetus to flight, to not be available, to go

13   back to Lebanon where he can be safe for the rest of his

14   life because there's no extradition treaty.

15              THE COURT:     There seems to be a suggestion there

16   was some omissions from the superseding indictment that

17   changes the scope or the nature of the conspiracy?

18              MR. GILLICE:     No, your Honor, not at all.      There

19   are -- we took out the language with regard to Hezbollah.            I

20   know the Court is cognizant of the pleadings we had with

21   regard to the motion to compel.      The language on Hezbollah,

22   we basically took that out of the indictment, but all the

23   charges remain the same.      All the charges remains the same.

24   And the defendants remain the same.

25              And as the Court recalls from our arguments with
     Case 1:17-cr-00046-RBW Document 99 Filed 02/28/18 Page 17 of 28   17




 1   regard to the motion to compel the government will not put

 2   in any evidence with regard to Hezbollah at the trial of

 3   this matter, so we assumed it would be appropriate for us to

 4   excise that language from the indictment.

 5              THE COURT:     There seem to have been this

 6   suggestion made that somehow you hoodwinked the Moroccan

 7   authorities by suggesting his association with Hezbollah

 8   that you're now backing away from?

 9              MR. GILLICE:     Not at all, your Honor, not at all.

10   I certainly, I personally was not involved in the

11   conversations that happened with the Moroccan government,

12   but what I do know is that we presented them with an

13   extradition package with translated documents that were the

14   charging documents.

15              THE COURT:     So the information about Hezbollah

16   that was in the original indictment has been omitted from

17   the superseding indictment was done for what purpose?

18              MR. GILLICE:     The information that was about

19   Hezbollah that was in there the first place?

20              THE COURT:     Right.

21              MR. GILLICE:     Your Honor, it is part of the

22   background of this case.      So --

23              THE COURT:     So why did you omit it from the

24   superseding indictment?

25              MR. GILLICE:     We had pleadings that were filed
     Case 1:17-cr-00046-RBW Document 99 Filed 02/28/18 Page 18 of 28    18




 1   with regard to what the scope of discovery would be in this

 2   case.   And realizing that we were going to be available to

 3   proceed without referring to Hezbollah at the trial, we

 4   removed the language from Hezbollah from the indictment.

 5              THE COURT:     Okay.    Thank you.   Briefly.

 6              MR. TAYLOR:     It sounds like our complaints about

 7   not getting information about Hezbollah has had some impact

 8   on the government's charging decision, your Honor.

 9              May we have until Tuesday to file a short response

10   to this to their memo?      I don't want to go into the

11   Guidepost stuff, but just some factual responses, five pages

12   on Tuesday?

13              MR. GILLICE:     I assume we'd be able to respond to

14   that as well?

15              THE COURT:     I'll give you until Friday.

16              MR. TAYLOR:     Tuesday for us, Friday for them?

17              THE COURT:     Yes.    Okay.   Thank you.

18              MR. GILLICE:     Your Honor, can we arraign the

19   defendant on the superseding indictment?

20              THE COURT:     Do you have that?

21              THE DEPUTY CLERK:       I do, your Honor.

22              MR. TAYLOR:     Your Honor, we haven't had a chance

23   to read it.     We waive it for now?      We're going to be back on

24   motions hearing.     This is not just technical.       I don't think

25   he knows what it is.
     Case 1:17-cr-00046-RBW Document 99 Filed 02/28/18 Page 19 of 28    19




 1                THE COURT:    We still need to have him arraigned at

 2   some point, and I think he should have a chance to review it

 3   before that.     So I mean if you want to come back one day

 4   next week I'll be here when we can arraign him, but I think

 5   he should be formally arraigned.

 6                MR. TAYLOR:    If he enters no plea doesn't the

 7   Court enter a plea of not guilty?

 8                THE COURT:    I guess you could provisionally waive

 9   the reading of the indictment at this point.        And once

10   you've reviewed it if you think further proceedings related

11   to the arraignment is necessary we can do that.

12                MR. TAYLOR:    We can file a written, a written not

13   guilty plea from him after he's had a chance to read it, but

14   I don't --

15                THE COURT:    I assume you're going to plead not

16   guilty.   He can do that now.

17                MR. TAYLOR:    That was my thought, your Honor.

18                THE COURT:    Well, you can go ahead I guess and

19   enter a plea of not guilty and provisionally waive the

20   reading of the indictment until you have such time to review

21   it.   And if you think after reviewing it there's a need for

22   further proceedings related to the arraignment we can set

23   that up for next week.

24                MR. TAYLOR:    We'd like to enter a plea of not

25   guilty, and I don't think that's going to change.
     Case 1:17-cr-00046-RBW Document 99 Filed 02/28/18 Page 20 of 28    20




 1              MR. GILLICE:     Your Honor, that's all fine, but I

 2   do believe since the charges have been lodged that the

 3   defendant should be made aware of the official charges

 4   against him.

 5              THE COURT:     Very well.   We can advise him as to

 6   what the charges are.      And again, if counsel desires to have

 7   further proceedings related to the arraignment we can

 8   schedule that for next week.

 9              MR. GILLICE:     So I'm sorry to be --

10              THE COURT:     Mr. Smith, you want to indicate on the

11   record what he's charged with.

12              THE DEPUTY CLERK:     In the superseding indictment,

13   your Honor, let the record reflect copies of the superseding

14   indictment have been given to defendant and defense counsel.

15   Kassim Tajideen, you are before the Court now charged in a

16   superseding indictment with Count 1, which charges

17   conspiracy to conduct unlawful transactions, and cause U.S.

18   persons to conduct unlawful transactions with a specially

19   designated global terrorist, and to defraud the United

20   States by dishonest means.

21              Counts 3 through 9, charge unlawful transactions

22   with a specially designated global terrorist and aiding and

23   abetting and causing an act to be done.        Count 11, charges

24   conspiracy to commit money laundering.

25              MR. GILLICE:     Your Honor, if I may, I believe
     Case 1:17-cr-00046-RBW Document 99 Filed 02/28/18 Page 21 of 28     21




 1   Counts 2 and 10 were left out of that recitation, and 2 and

 2   10 --

 3              THE DEPUTY CLERK:      Also Counts 2 and 10, charge

 4   unlawful transactions with a specially designated global

 5   terrorist, and aiding and abetting and causing an act to be

 6   done.

 7              MR. GILLICE:     Your Honor, I should also state that

 8   Counts 2 and 8, are only as to the co-defendant in this

 9   case.

10              THE COURT:     Okay.

11              MR. GILLICE:     Thank you.

12              THE COURT:     And there's also a forfeiture

13   provision also in the superseding indictment?

14              MR. TAYLOR:     I didn't think they'd leave that one

15   out.

16              THE COURT:     Very well.     Then he's entered a plea

17   of not guilty to all counts in the indictment.         And as I

18   indicated if counsel thinks there's something else that

19   needs to be done by way of the arraignment after you've had

20   a chance to review the superseding indictment, let me know

21   and we'll reschedule this matter for next week.

22              One of the things I've been looking into in the

23   interim before I decide the bond issue is whether the

24   defendant can be housed at the treatment facility next to

25   the DC jail, and we are still looking into that.         We haven't
     Case 1:17-cr-00046-RBW Document 99 Filed 02/28/18 Page 22 of 28   22




 1   heard back from the marshals in reference to whether we'd be

 2   able to accomplish that, but I'm seeking to try and do that

 3   in the interim.    Hopefully, we'll hear back something from

 4   the marshal service today.

 5              Thank you.

 6              [Thereupon, the proceedings adjourned at 10:37

 7              a.m.]

 8                              CERTIFICATE

 9              I, Cathryn J. Jones, an Official Court Reporter

10   for the United States District Court of the District of

11   Columbia, do hereby certify that I reported, by machine

12   shorthand, the proceedings had and testimony adduced in the

13   above case.

14              I further certify that the foregoing 21 pages

15   constitute the official transcript of said proceedings as

16   transcribed from my machine shorthand notes.

17              In witness whereof, I have hereto subscribed my

18   name, this the 27th day of February, 2018.

19

20
                                     /s/_Cathryn J. Jones
21                                   Cathryn J. Jones, RPR
                                     Official Court Reporter
22

23

24

25
                                       able [3] 7/9 18/13 22/2                    arraigned [2] 19/1 19/5
         Case 1:17-cr-00046-RBW  Document
                              about            99 12/3
                                    [9] 7/20 11/23 Filed
                                                       12/702/28/18
                                                            13/9      Page 23[4]of19/11
                                                                  arraignment      28 19/22 20/7
MR. DELINSKY: [6] 5/25 6/3 6/6 6/10
                                        17/15 17/18 18/6 18/7                      21/19
7/13 9/17
                                       above [1] 22/13                            as [21] 3/25 4/14 4/19 4/19 5/4 5/21
MR. GILLICE: [20] 3/5 4/3 4/25 5/15
                                       abundantly [1] 10/6                         6/12 8/8 8/11 9/13 9/19 11/1 11/3
5/23 6/17 6/22 14/6 16/17 17/8 17/17
                                       acceptable [1] 5/21                         11/16 15/4 16/25 18/14 20/5 21/8
17/20 17/24 18/12 18/17 19/25 20/8
                                       accomplish [1] 22/2                         21/17 22/15
20/24 21/6 21/10
                                       account [1] 12/11                          ask [5] 3/4 6/13 13/20 16/1 16/5
MR. TAYLOR: [14] 3/10 5/24 9/20
9/22 10/1 10/4 18/5 18/15 18/21 19/5   accused [1] 10/11                          asked [1] 8/23
19/11 19/16 19/23 21/13                acquire [1] 7/13                           asking [2] 14/18 14/19
                                       across [2] 13/8 14/1                       assessing [1] 9/11
THE COURT: [36]
                                       act [2] 20/23 21/5                         association [1] 17/7
THE DEPUTY CLERK: [4] 3/1 18/20
20/11 21/2                             activity [1] 12/12                         assume [2] 18/13 19/15
                                       actually [2] 5/6 10/21                     assumed [1] 17/3
$                                      add [1] 4/24                               assuming [1] 4/23
$20 [3] 15/23 16/1 16/4                additional [1] 3/23                        assure [4] 10/15 11/12 13/22 14/11
$20 million [3] 15/23 16/1 16/4        address [2] 3/15 3/18                      attention [2] 12/6 16/7
                                       adduced [1] 22/12                          Attorney [1] 1/15
.                                      adjourned [1] 22/6                         ATTORNEY'S [3] 1/13 1/19 3/7
.x [1] 1/6                             adversary [1] 13/10                        Attorney-at-Law [1] 1/15
                                       advise [1] 20/5                            AUSA [3] 1/12 1/12 1/18
/                                      affiant [1] 11/5                           authorities [1] 17/7
/s [1] 22/20                           affidavit [13] 7/4 8/4 8/6 8/8 8/12 8/19   authority [2] 5/10 14/22
                                        8/24 9/4 9/7 11/5 11/7 11/11 15/25        available [2] 16/12 18/2
1                                      affidavit's [1] 7/15                       Avenue [2] 1/17 2/2
10 [3] 21/1 21/2 21/3                  Africa [2] 11/23 12/14                     awake [1] 13/6
10 o'clock [1] 13/13                   after [7] 3/23 4/2 4/23 5/6 19/13 19/21    aware [2] 4/19 20/3
1000 [1] 1/24                           21/19                                     away [1] 17/8
10007 [1] 1/20                         again [1] 20/6
10:07 [1] 1/6                          against [3] 14/17 16/11 20/4               B
10:37 [1] 22/6                         agent [3] 7/17 9/13 10/17                  back [7] 13/5 15/9 16/13 18/23 19/3
11 [1] 20/23                           agree [1] 15/17                            22/1 22/3
11 o'clock [2] 13/6 13/12              Agreed [1] 4/4                             background [1] 17/22
1400 [1] 1/17                          ahead [1] 19/18                            backing [1] 17/8
16 [1] 1/5                             aiding [2] 20/22 21/5                      ball [1] 14/13
16th [1] 13/18                         all [13] 6/22 10/5 11/21 13/16 13/20       Barkett [1] 1/12
17-46 [2] 1/4 3/4                       15/7 16/18 16/22 16/23 17/9 17/9 20/1     basically [3] 14/15 15/19 16/22
1800 [1] 1/24                           21/17                                     basis [2] 4/19 4/24
1st [1] 5/22                           allegation [1] 12/20                       be [40]
                                       allegedly [1] 8/25                         bears [2] 11/11 11/23
2                                      alleging [1] 15/15                         because [9] 8/10 8/17 10/8 10/17 12/2
20001 [1] 2/3                          along [2] 3/7 3/12                         12/12 12/18 12/24 16/14
20036-580 [1] 1/25                     also [8] 6/19 6/24 7/4 15/3 21/3 21/7      become [1] 4/19
2018 [2] 1/5 22/18                      21/12 21/13                               been [7] 9/6 13/6 17/5 17/16 20/2
20530 [1] 1/17                         alternative [1] 5/22                       20/14 21/22
21 [1] 22/14                           although [1] 14/4                          before [9] 1/9 5/11 12/19 13/12 13/12
22205 [1] 1/14                         AMERICA [2] 1/3 12/10                      14/8 19/3 20/15 21/23
26th [2] 5/19 5/22                     among [1] 11/14                            being [1] 12/9
27th [1] 22/18                         Andrews [1] 1/20                           believe [6] 10/8 13/25 14/3 16/11 20/2
2nd [1] 3/24                           answer [1] 7/14                            20/25
                                       any [13] 3/19 3/19 3/23 5/4 5/7 5/15       believes [2] 4/8 16/6
3                                       6/14 7/25 8/21 9/2 11/3 12/22 17/2        best [1] 5/20
333 [1] 2/2                            anybody [1] 8/10                           better [1] 5/23
                                       anything [4] 8/8 9/7 11/22 14/6            blanche [1] 4/15
4                                      appearance [3] 10/16 13/23 14/11           bond [2] 1/16 21/23
46 [2] 1/4 3/4                         APPEARANCES [1] 1/11                       Brief [1] 3/16
                                       appreciate [1] 7/5                         briefly [2] 6/4 18/5
5                                      appropriate [8] 4/1 4/3 7/11 9/12 9/16     bringing [1] 11/20
555 [1] 1/14                            15/18 15/22 17/3                          Building [1] 1/16
580 [1] 1/25                           are [21] 3/14 3/17 6/18 6/19 6/21 7/10     Bureau [1] 15/19
                                        8/20 10/15 11/15 11/17 11/18 12/25        business [1] 12/13
6                                       14/14 14/17 15/21 16/10 16/19 20/6
6521 [1] 2/2                            20/15 21/8 21/25                          C
                                       argument [1] 9/25                          C1's [1] 8/1
A                                                                                 call [1] 12/6
                                       arguments [1] 16/25
a.m [2] 1/6 22/7                       armed [1] 8/7                              called [1] 13/2
abetting [2] 20/23 21/5                arraign [2] 18/18 19/4                     came [3] 6/12 8/1 13/8
C                                        Correct [1] 6/23                          did [3] 7/8 14/23 17/23
        Case 1:17-cr-00046-RBW   Document
                             corroborated [3] 99   Filed
                                              9/2 9/6 9/8 02/28/18  Page
                                                                 didn't      24 of
                                                                        [3] 3/19    28 21/14
                                                                                 11/23
can [13] 12/23 14/10 16/13 18/18 19/4
 19/11 19/12 19/16 19/18 19/22 20/5      could [5] 4/1 13/16 14/25 16/3 19/8       directly [1] 7/15
 20/7 21/24                              couldn't [1] 3/21                         discovery [1] 18/1
                                         counsel [6] 4/18 5/21 14/12 20/6          discussing [1] 10/10
can't [3] 13/4 13/24 16/3
                                          20/14 21/18                              discussions [1] 8/17
capacity [1] 11/18
                                         Count [2] 20/16 20/23                     dishonest [1] 20/20
carte [1] 4/15
                                         countries [1] 11/17                       dispositive [4] 3/23 4/8 4/9 4/20
case [8] 5/7 5/7 10/10 12/8 17/22 18/2
 21/9 22/13                              country [1] 13/5                          DISTRICT [6] 1/1 1/2 1/10 2/2 22/10
                                         counts [5] 20/21 21/1 21/3 21/8 21/17     22/10
Cathryn [4] 2/1 22/9 22/20 22/21
                                         couple [2] 3/14 3/17                      do [17] 4/4 4/6 4/18 4/24 7/25 8/11
cause [2] 5/9 20/17
                                         course [2] 5/16 8/10                      8/25 9/15 13/13 17/12 18/20 18/21
caused [1] 10/23
                                         court [32]                                19/11 19/16 20/2 22/2 22/11
causing [2] 20/23 21/5
                                         Court's [4] 9/23 14/13 16/7 16/7          Docket [1] 1/4
certainly [2] 16/7 17/10
                                         courts [1] 12/1                           document [1] 7/8
CERTIFICATE [1] 22/8
                                         CR [1] 1/4                                documents [2] 17/13 17/14
certify [2] 22/11 22/14
                                         Creating [1] 8/16                         does [3] 5/4 8/6 9/1
chance [8] 7/2 7/5 15/12 15/13 18/22
 19/2 19/13 21/20                        crimes [2] 12/25 13/3                     doesn't [1] 19/6
                                         Criminal [1] 3/4                          dollars [5] 8/13 12/17 15/23 16/1 16/4
change [1] 19/25
                                         cross [3] 7/13 11/6 11/8                  don't [21] 4/1 4/9 4/22 5/10 5/14 7/5
changes [3] 6/14 6/21 16/17
                                         cross-examination [1] 7/13                7/12 7/18 7/24 8/2 8/17 9/23 11/19
charge [2] 20/21 21/3
                                         cross-examine [1] 11/8                    12/23 13/8 13/9 13/9 18/10 18/24
charged [4] 14/20 14/24 20/11 20/15
                                         cross-examined [1] 11/6                   19/14 19/25
charges [12] 6/19 14/17 14/20 14/25
 16/10 16/23 16/23 20/2 20/3 20/6        cursory [1] 6/12                          donated [1] 12/17
 20/16 20/23                             custodian [1] 15/14                       done [4] 17/17 20/23 21/6 21/19
                                         custody [1] 16/4                          double [1] 7/17
charging [2] 17/14 18/8
                                         cut [2] 4/6 4/11                          down [2] 12/7 13/16
chickens [1] 10/11
                                         cut-off [2] 4/6 4/11                      draw [2] 10/20 10/22
circumstance [1] 15/18
                                                                                   due [3] 12/16 13/20 16/6
circumstances [3] 7/11 14/23 15/4        D
citations [1] 12/15                                                                E
                                         D.C [2] 1/5 2/3
clear [1] 10/6
                                         danger [1] 10/23                          effect [2] 4/25 8/8
closely [1] 13/21
                                         date [7] 4/2 4/6 4/6 4/12 5/18 5/22 6/2   effort [1] 8/18
co [1] 21/8
                                         dates [4] 3/20 5/21 6/15 8/14             efforts [2] 8/20 8/20
co-defendant [1] 21/8
                                         day [3] 5/20 19/3 22/18                   either [1] 4/5
cognizant [1] 16/20
                                         days [1] 6/13                             elements [1] 12/22
coincide [1] 8/14
                                         DC [5] 1/14 1/17 1/25 3/8 21/25           else [1] 21/18
COLUMBIA [2] 1/2 22/11
                                         decide [5] 9/10 9/15 9/17 11/6 21/23      emergency [1] 14/22
combination [1] 14/10
                                         decided [2] 9/9 9/14                      Emirates [1] 12/13
come [2] 4/12 19/3
                                         decision [3] 12/4 12/15 18/8              end [1] 9/3
coming [3] 6/12 13/15 14/1
                                         declaration [1] 9/1                       enter [3] 19/7 19/19 19/24
commit [1] 20/24
                                         declare [1] 14/22                         entered [1] 21/16
community [1] 16/10
                                         deem [1] 4/3                              enters [1] 19/6
compel [2] 16/21 17/1
                                         defendant [18] 1/6 1/22 4/7 4/13 14/9     entertain [1] 9/24
complaints [1] 18/6                      14/16 14/24 15/3 15/4 15/6 15/15          entirety [1] 11/7
complete [1] 7/24                        15/16 16/9 18/19 20/3 20/14 21/8          entitled [1] 8/10
computer [1] 13/7                        21/24                                     Eric [2] 1/22 3/12
conclusion [3] 9/3 10/19 10/22
                                         defendant's [2] 8/11 12/4                 Esquire [3] 1/22 1/23 1/23
conditions [6] 10/15 10/25 11/12
                                         defendants [2] 6/19 16/24                 essence [2] 6/16 15/15
 11/24 13/22 14/10
                                         defense [5] 3/22 7/6 7/12 14/12 20/14     even [2] 9/9 9/14
conduct [2] 20/17 20/18
                                         defense's [1] 6/25                        every [2] 9/3 12/20
CONFERENCE [1] 1/8
                                         defraud [1] 20/19                         everything [1] 14/15
confidential [3] 7/18 7/20 10/18
                                         delay [1] 5/9                             evidence [1] 17/2
Congo [2] 10/21 14/1
                                         delays [1] 5/15                           exactly [2] 7/6 7/12
connection [1] 8/24
                                         Delinsky [4] 1/22 3/12 11/7 11/14         examination [1] 7/13
connections [1] 15/7
                                         deny [4] 4/1 4/5 4/5 4/22                 examine [2] 11/8 11/13
consider [15] 9/10 9/11 9/14 9/15 9/16
                                         DEPARTMENT [3] 1/16 1/19 3/8              examined [1] 11/6
 10/12 11/3 11/10 12/2 13/11 14/18
                                         describe [1] 8/24                         example [1] 8/6
 14/19 15/2 15/13 16/5
                                         described [2] 8/12 8/21                   excise [1] 17/4
considered [1] 12/9
                                         describing [1] 10/10                      exhibit [2] 12/3 12/4
considering [1] 10/25
                                         description [1] 12/21                     expect [2] 7/6 7/12
consists [1] 12/12
                                         designated [3] 20/19 20/22 21/4           expeditiously [2] 4/20 4/23
conspiracy [3] 16/17 20/17 20/24
                                         desires [1] 20/6                          extradite [1] 12/18
constitute [1] 22/15
                                         desk [1] 13/8                             extradited [2] 12/25 13/3
Constitution [1] 2/2
                                         detain [1] 10/7                           extradition [4] 12/5 15/10 16/14 17/13
contributor [1] 10/9
                                         detention [1] 14/15                       extraordinary [1] 14/23
conversations [2] 7/8 17/11
                                         determined [1] 4/8                        eye [3] 14/13 15/15 16/7
copies [1] 20/13
E                                        guilty [6] 19/7 19/13 19/16 19/19         incredible [1] 16/12
         Case 1:17-cr-00046-RBW19/25
                                  Document
                                     21/17 99 Filed 02/28/18indicate
                                                                Page[3]255/13
                                                                           of 8/19
                                                                              28 20/10
eyes [1] 11/22
                                                                                     indicated [3] 5/21 7/8 21/18
F                                        H                                           indication [1] 9/7
                                       had [12] 3/21 7/1 7/5 9/6 9/6 16/20           indictment [24]
face [1]   4/9
                                        17/25 18/7 18/22 19/13 21/19 22/12           individual [2] 7/6 7/10
facility [1] 21/24
                                       hadn't     [2]    6/9 13/6                    individuals [1] 7/10
fact [5] 4/18 7/16 10/13 12/8 12/16
                                       half   [1]   9/20                             inference [1] 8/16
facts [1] 12/7
                                       halfway [1] 12/7                              information [13] 7/21 7/25 8/1 9/2 9/4
factual [1] 18/11
                                       hand     [1]    12/3                           10/24 10/24 11/3 11/20 14/2 17/15
failed [1] 11/14
                                       handover         [1]   12/9                    17/18 18/7
fails [1] 11/15
                                       happen       [2]    11/23 15/20               information's    [1] 9/1
fashioned [1] 14/10
                                       happened          [2]   11/23 17/11           innuendo     [1] 7/23
February [2] 1/5 22/18
                                       has [10] 4/18 5/6 11/5 11/5 14/21 15/6 insinuates [1] 9/4
few [3] 6/13 6/21 11/15
                                        15/7 15/13 17/16 18/7                        interim [2] 21/23 22/3
figuratively [1] 15/8
             13/24                     have     [32]                                 international [1] 13/2
figure [1]
                                       haven't      [5]    7/1 9/9 9/14 18/22 21/25  internationally [1] 12/10
file [7] 3/23 4/2 4/13 4/14 4/20 18/9
                                       having      [4]    4/15 13/14 15/18 15/20     involved [1] 17/10
 19/12
                                       he   [30]                                     is [63]
filed [4] 6/7 6/24 14/15 17/25
                                       he's [12] 7/7 7/9 10/13 10/16 11/16           issue [7] 5/3 5/17 6/5 7/3 9/13 14/8
filing [4] 4/15 4/23 8/14 13/11
                                        11/19 11/20 12/19 14/3 19/13 20/11            21/23
financial [1] 12/11
                                        21/16                                        issues   [1] 3/20
find [1] 13/18
                                       hear    [2]    9/13 22/3                      it [36]
finds [1] 14/24
                                       heard [2] 6/4 22/1                            it's [8] 7/16 7/16 7/17 7/19 9/11 9/15
fine [2] 6/16 20/1
                                       hearing       [4]   5/18 13/12 13/13 18/24     13/9 16/6
first [2] 8/14 17/19
                                       hearsay       [6]    7/15 7/16 7/17 7/19 7/19 its [1] 11/7
firsthand [1] 7/22
                                        7/20
fits [1] 12/21                                                                       J
                                       held    [1] 5/18
five [2] 10/2 18/11
                                       here [6] 8/13 13/21 14/3 14/18 16/10 Jacqueline [1] 1/12
flight [6] 10/13 10/14 10/16 14/9 15/6
                                        19/4                                         jail [2] 14/25 21/25
 16/12
                                       hereby [1] 22/11                              jailbreak [1] 8/7
focusing [1] 14/14
                                       hereto [1] 22/17                              Jencks [2] 5/4 5/5
foregoing [1] 22/14
                                       Herman [2] 1/23 3/13                          Joe [1] 3/8
foreign [1] 11/17
                                       Hezbollah [13] 6/20 12/12 12/17 14/19 Jones [4] 2/1 22/9 22/20 22/21
forfeiture [1] 21/12
                                        16/19 16/21 17/2 17/7 17/15 17/19            Joseph [1] 1/15
formally [1] 19/5
                                        18/3 18/4 18/7                               JUDGE [4] 1/9 1/10 14/8 15/12
forth [2] 12/25 15/5
                                       him    [16]     4/7 7/13 11/3 12/2 12/23 13/4 just [12] 4/11 4/13 4/15 6/11 6/14 7/1
forward [3] 3/4 4/9 13/22
                                        14/17 14/18 14/25 16/11 16/11 19/1            7/25 9/1 15/22 16/5 18/11 18/24
Fourth [1] 1/14
                                        19/4 19/13 20/4 20/5                         JUSTICE     [3] 1/16 1/19 3/9
Friday [2] 18/15 18/16
                                       himself      [1]    14/24
front [1] 4/7
                                       his [9] 10/15 12/11 12/12 13/22 14/11 K
fund [1] 8/7
                                        16/9 16/9 16/13 17/7                         KASSIM [3] 1/5 3/3 20/15
further [7] 8/22 9/24 15/12 19/10
                                       history     [1]    15/4                       keep [2] 4/15 15/15
 19/22 20/7 22/14
                                       hold [1] 5/19                                 kind [1] 13/8
G                                      honestly        [1]   13/11                   know [21] 5/4 7/12 7/15 7/16 7/16
                                       Honor      [33]                                7/18 7/20 7/24 8/2 8/17 9/16 11/19
gathered [1] 9/4
                                       HONORABLE              [1]  1/9                11/19 12/2 12/23 13/8 15/25 16/11
get [4] 7/6 9/19 15/12 16/4
                                       hoodwinked            [1]  17/6                16/20 17/12 21/20
gets [1] 13/4
                                       Hopefully        [1]   22/3                   knows    [1] 18/25
getting [5] 11/16 11/18 11/19 11/20
 18/7                                  host    [1]    13/5
                                       housed [1] 21/24
                                                                                     L
Gillice [2] 1/12 3/7
                                       how [3]        4/1   8/2  9/17                lack [1] 16/9
give [1] 18/15
                                                                                     language [6] 6/20 6/21 16/19 16/21
given [1] 20/14                        I                                              17/4 18/4
global [3] 20/19 20/22 21/4
                                       I'll [7]   4/24    7/2  7/14  9/16 9/19 18/15 last  [2] 13/6 13/16
go [4] 15/9 16/12 18/10 19/18
                                        19/4                                         laundering [1] 20/24
going [14] 4/9 4/10 5/9 7/9 9/10 9/14
                                       I'm [5] 9/10 9/14 12/2 20/9 22/2              law [2] 1/15 13/2
 10/20 13/17 13/25 14/4 18/2 18/23
                                       I've [1] 21/22                                lawful [5] 8/10 8/18 16/2 16/2 16/3
 19/15 19/25
                                       idea [1] 7/25                                 learned [1] 7/18
good [4] 3/6 3/10 3/11 3/14
                                       identify [1] 3/5                              leave [6] 3/22 4/5 4/14 4/21 14/25
got [4] 7/1 8/1 13/1 15/25                                                            21/14
                                       IEEPA [1] 14/21
gotten [1] 6/9
                                       III [1]   1/23                                Lebanon [4] 10/18 12/13 15/9 16/13
government [17] 1/12 5/2 5/5 5/8 5/10
                                       impact [1] 18/7                               left [1] 21/1
 5/24 6/7 6/24 12/1 12/9 12/18 13/24
                                       impetus        [1]   16/12                    legal [2] 4/19 4/24
 14/6 14/13 15/17 17/1 17/11
                                       implicates        [1]   10/24                 let [3] 9/16 20/13 21/20
government's [3] 3/25 10/6 18/8
                                       important [1]          16/8                   life [2] 13/24 16/14
guess [3] 7/5 19/8 19/18
                                       inclination        [1]   5/19                 light [1] 6/15
Guidepost [2] 15/14 18/11
L                            necessary [1] 19/11                    P
        Case 1:17-cr-00046-RBW  Document
                             need             999/11Filed
                                  [7] 3/15 5/13            02/28/18
                                                     9/13 9/15 19/1   Page 26 of 28
like [4] 10/2 13/10 18/6 19/24                                                package [1] 17/13
                                       19/21
links [1] 12/11                                                               page [2] 12/6 12/7
                                       needed [1] 3/18
little [2] 9/24 11/20                                                         pages [2] 18/11 22/14
                                       needs [2] 5/8 21/19
lodged [1] 20/2                                                               paid [2] 11/16 15/21
                                       negotiate [1] 13/16
long [1] 14/25                                                                Palazzo [2] 1/15 3/8
                                       negotiated [1] 13/14
look [8] 7/2 7/5 13/6 13/21 14/14                                             paper [1] 7/17
                                       network [1] 12/13
 14/15 15/3 15/12                                                             part [1] 17/21
                                       new [7] 1/17 1/20 4/12 4/14 6/18 6/19
looked [1] 4/7                                                                particular [1] 5/11
                                       6/20
looking [4] 4/11 13/7 21/22 21/25                                             particularly [1] 5/7
                                       next [8] 7/3 9/20 13/13 19/4 19/23
Luckner [1] 1/18                                                              parties [2] 3/4 3/20
                                       20/8 21/21 21/24
                                                                              party [4] 13/25 15/14 15/18 15/20
M                                      night [2] 13/7 13/12
                                                                              patience [1] 9/24
machine [2] 22/11 22/16                no [15] 1/4 5/25 6/1 6/14 6/18 6/19
                                                                              pause [1] 3/16
made [2] 17/6 20/3                     6/19 9/7 15/6 15/8 15/9 15/11 16/14
                                                                              period [1] 14/25
Maia [2] 1/18 3/7                      16/18 19/6
                                                                              person [2] 12/8 15/21
mainly [1] 12/12                       Northern [1] 14/1
                                                                              personally [1] 17/10
make [3] 6/14 14/3 15/20               not [44]
                                                                              persons [4] 8/2 8/3 8/4 20/18
man [2] 10/10 12/18                    note [2] 8/11 8/22
                                                                              pertaining [2] 6/5 9/5
March [1] 3/24                         notes [1] 22/16
                                                                              phones [1] 6/12
March 2nd [1] 3/24                     nothing [2] 7/20 8/19
                                                                              picked [1] 10/18
marshal [1] 22/4                       now [6] 12/19 14/24 17/8 18/23 19/16
                                                                              pieces [1] 9/6
marshals [1] 22/1                      20/15
                                                                              place [3] 7/9 15/19 17/19
material [5] 5/4 5/5 5/9 5/12 5/13     NW [3] 1/14 1/17 1/24
                                                                              Plaintiff [1] 1/3
matter [4] 3/3 15/5 17/3 21/21         NY [1] 1/20
                                                                              Plaza [1] 1/20
matters [2] 3/17 10/11                 O                                      plea [6] 19/6 19/7 19/13 19/19 19/24
may [5] 6/4 10/3 12/8 18/9 20/25                                              21/16
                                       o'clock [4] 6/3 13/6 13/12 13/13
maybe [1] 16/2                                                                plead  [1] 19/15
                                       objection [1] 7/4
me [7] 5/20 5/23 7/11 11/6 11/13 13/24                                        pleading   [1] 13/11
21/20                                  obligation [1] 4/19
                                                                              pleadings   [5] 14/14 15/5 15/13 16/20
                                       observed [1] 7/21
mean [1] 19/3                                                                 17/25
                                       obtained [1] 7/21
means [5] 8/9 8/11 16/2 16/3 20/20                                            please [1] 3/5
                                       obviously [6] 4/10 4/12 5/6 5/8 7/9
member [3] 10/8 11/4 14/18                                                    point [4] 7/25 9/17 19/2 19/9
                                       7/10
memo [3] 13/8 13/12 18/10                                                     pointed [1] 16/8
                                       October [1] 5/22
mention [2] 11/15 11/16                                                       predicate [1] 4/22
                                       October 1st [1] 5/22
might [1] 9/24                                                                presentation [1] 10/6
                                       off [5] 4/6 4/11 11/22 14/13 16/7
Miller [2] 1/18 3/7                                                           presented [1] 17/12
                                       office [4] 1/13 1/19 3/8 3/13
million [3] 15/23 16/1 16/4                                                   president [2] 14/21 14/23
                                       official [5] 2/1 20/3 22/9 22/15 22/21
millions [2] 8/13 12/17                                                       presumedly [1] 10/19
                                       officials [1] 8/3
minimum [1] 8/16                                                              pretrial [2] 5/18 7/1
                                       Okay [8] 3/17 5/17 6/2 6/11 6/24 18/5
minutes [1] 10/3                                                              principle [1] 13/2
                                       18/17 21/10
misspoke [1] 10/21                                                            prior [1] 9/5
                                       omissions [1] 16/16
money [3] 11/18 11/19 20/24                                                   Prisons [1] 15/19
                                       omit [1] 17/23
monthly [1] 11/21                                                             probably [1] 4/17
                                       omitted [1] 17/16
months [1] 5/11                                                               problem [2] 5/23 13/1
                                       once [1] 19/9
moot [1] 11/9                                                                 problems [1] 3/19
                                       one [13] 1/20 3/18 3/21 5/20 6/5 9/9
more [2] 7/16 12/3                                                                           9/17 18/3
                                       10/5 11/14 12/3 16/3 19/3 21/14 21/22 proceed [2]
morning [8] 3/2 3/6 3/10 3/11 3/14 6/8                                        proceedings     [6] 19/10 19/22 20/7
13/13 13/19                            only [4] 4/17 5/12 13/23 21/8
                                                                              22/6 22/12 22/15
                                       operating [1] 12/13
Moroccan [4] 12/5 16/4 17/6 17/11                                             produce [4] 5/5 5/8 5/12 5/13
                                       opinion [1] 9/19
Morocco [2] 8/7 12/18                                                         production [1] 5/3
                                       opportunity [2] 4/2 11/13
Most [1] 11/17                                                                proposed [3] 3/18 3/20 4/25
                                       opposed [1] 4/14
motion [8] 4/14 4/20 4/20 6/25 7/3                                            prosecute [2] 12/23 14/5
8/14 16/21 17/1                        opposition [1] 6/25
                                                                              prosecuted [2] 12/16 13/4
                                       order [5] 3/19 4/18 4/25 7/3 8/23
motions [5] 3/23 4/2 4/9 13/14 18/24                                          proven [1] 12/15
                                       organization [2] 10/9 11/4
Mr [6] 8/13 10/7 11/7 11/14 12/22                                             provide [2] 11/3 12/21
20/10                                  original [1] 17/16
                                                                              provides [1] 16/11
                                       other [8] 5/17 6/21 8/3 9/4 9/5 10/11
Mr. [2] 8/5 14/2                                                              provision [1] 21/13
                                       11/14 16/8
Mr. Tajideen [1] 14/2                                                         provisionally [2] 19/8 19/19
                                       Otherwise [1] 10/9
Mr. Tajideen's [1] 8/5                                                        purchasing [1] 10/11
                                       our [10] 3/13 6/12 10/17 11/8 13/8
my [5] 5/18 13/7 19/17 22/16 22/17                                            purpose [1] 17/17
                                       14/14 15/5 15/13 16/25 18/6
                                                                              put [4] 4/18 13/22 15/4 17/1
N                                      out [10] 9/20 12/20 13/18 13/24 16/4
N.W [1] 2/2                            16/8 16/19 16/22 21/1 21/15            Q
name [1] 22/18                         outlined   [1] 11/25
                                                                              quadruple [1] 7/19
national [2] 1/13 14/22                over [1] 9/5
                                                                              question [5] 7/15 10/14 11/22 13/21
nature [2] 5/8 16/17                                                          13/23
Q                                        RPR [2] 2/1 22/21                        sources [2] 10/18 11/17
        Case 1:17-cr-00046-RBW
                             ruleDocument
                                 [1] 12/16 99 Filed 02/28/18SPAEDER
                                                               Page 27
                                                                    [2] of 283/12
                                                                        1/24
quintuple [1] 7/19
                                         rumors [1] 7/23                              speak [1] 15/8
R                                                                                     special [1] 7/17
                                        S                                             specially [3] 20/18 20/22 21/4
raising [1]  8/12
                                        safe [1] 16/13                                specialty [1] 13/3
rather [1] 4/21
                                        said   [4]    11/7 12/18 13/17 22/15          specifically [1] 8/23
read [2] 18/23 19/13
                                        salary    [1]    11/21                        spring [1] 14/1
reading [2] 19/9 19/20
                                        same [4] 11/2 16/23 16/23 16/24               St [1] 1/20
real [3] 11/22 13/1 13/21
                                        sat  [1]   13/15                              stand [2] 12/19 15/19
realized [2] 4/13 4/24
                                        satisfy    [1]    5/1                         starts [1] 5/11
realizing [1] 18/2
                                        saw    [1]    6/10                            state [2] 9/2 21/7
really [2] 13/10 15/13
                                        say   [8]   8/6 9/19 10/16 12/1 13/9 13/10 STATES [12] 1/1 1/3 1/10 1/13 1/19
reason [2] 10/13 15/8
                                         14/4 14/12                                    3/3 10/12 12/10 15/7 15/10 20/20
reasonably [2] 13/22 14/11
                                        says    [2]   9/4 12/7                         22/10
reasons [1] 11/7
            16/25                       schedule [4] 6/5 13/14 13/16 20/8             STATUS       [1] 1/8
recalls [1]
                                        scheduling         [1]  3/19                  statute    [1]  5/4
recitation [1] 21/1
                                        scope     [2]    16/17 18/1                   steadfastly     [1] 11/2
recognized [1] 12/11
                                        second       [4]   5/3 6/25 8/12 12/6         step   [1]  3/4
record [4] 3/4 3/5 20/11 20/13
                                        secondhand [2] 7/22 14/2                      Steven [2] 1/23 3/13
recourse [1] 15/11
                                        Section      [1]    1/13                      still [2] 19/1 21/25
reference [1] 22/1
                                        secure     [4]    8/4 8/11 8/13 11/24         Street [2] 1/14 1/24
referred [1] 8/4
                                        security      [3]   1/13 6/13 13/19           stuff [1] 18/11
referring [1] 18/3
                                        see [3] 4/1 4/22 15/6                         subject [1] 8/22
reflect [1] 20/13
                                        seek    [7]    3/22 4/4 4/6 4/21 6/15 10/7    subjects [1] 9/6
refuse [2] 11/2 12/21
                                         15/9                                         submit [1] 15/16
regard [8] 6/20 15/23 16/8 16/19 16/21
 17/1 17/2 18/1                         seeking [1] 22/2                              subscribed [1] 22/17
                                        seem     [2]    7/11 17/5                     substantial [1] 4/10
REGGIE [1] 1/9
                                        seems      [4]    11/6 11/12 11/21 16/15      such [2] 4/2 19/20
reject [1] 11/6
                                        seen    [1]    13/7                           suddenly [1] 4/13
related [6] 3/18 3/21 5/3 19/10 19/22
                                        SENIOR [1] 1/9                                sufficient [2] 5/14 10/15
 20/7
                                        September [1] 5/19                            suggesting [1] 17/7
release [8] 7/1 8/5 8/11 8/13 8/15 9/12
                                        serious [2] 14/20 16/10                       suggestion [2] 16/15 17/6
 10/2 11/12
                                        service [1] 22/4                              Suite [1] 1/24
released [1] 11/1
                                        set [6] 6/2 12/25 14/20 14/23 14/24           sum [1] 8/12
reliable [1] 11/1
                                         19/22                                        summarized [1] 12/8
remain [2] 16/23 16/24
                                        she   [3]    7/21 7/22 8/1                    summary [1] 9/3
remains [1] 16/23
               18/4                     sheiks [3] 8/3 8/25 15/24                     superceding [1] 12/20
removed [1]
                                        short    [2]    8/20 18/9                     superseding [15] 6/7 6/17 12/24 13/1
reported [1] 22/11
                                        shorthand         [2]  22/12 22/16             13/15 13/17 16/16 17/17 17/24 18/19
Reporter [4] 2/1 2/1 22/9 22/21
                                        should      [6]    3/22 5/18 19/2 19/5 20/3    20/12 20/13 20/16 21/13 21/20
reporting [3] 7/17 7/23 10/17
                                         21/7                                         supplement       [1] 6/25
represented [1]   15/24
                                        shouldn't       [1]   13/11                   support     [1]  8/18
representing [2] 14/16 14/17
                                        shows [1] 10/23                               suppose [1] 11/8
request [2] 9/12 11/8
                                        significant       [1]  8/9                    supposed [1] 15/21
require [1] 5/5
                                        silent [1] 8/8                                sure [1] 6/14
required [2] 3/22 7/7
                                        simply     [2]    6/13 14/3                   sworn [1] 7/8
requiring [1] 4/21
                                        since    [2]    7/7 20/2
reschedule [1] 21/21                                                                  T
                                        smaller [1] 6/21
rescue [1] 13/25
                                        Smith     [1]    20/10                        TAJIDEEN [6] 1/5 3/3 10/7 12/22 14/2
resolve [1] 3/21
                                        so  [21]     4/8 4/11 4/24 4/24 5/8 5/14 7/2 20/15
resources [2] 15/7 16/9
                                         7/3 7/12 9/20 13/20 14/12 14/23 15/23 Tajideen's [2] 8/5 8/13
respect [1] 13/20
                                         16/5 17/3 17/15 17/22 17/23 19/3 20/9 take [5] 7/9 11/10 11/21 14/13 16/7
respond [1] 18/13
                                        solution      [2] 15/14 15/22                 takes [2] 12/20 15/3
response [1] 18/9
                                        some     [14]     4/6 4/6 4/11 8/3 8/12 10/23 talking [1] 12/3
responses [1] 18/11
                                         11/10 11/18 13/11 13/25 16/16 18/7           Taylor [2] 1/23 3/12
rest [1] 16/13
                                         18/11 19/2                                   technical [1] 18/24
return [1] 13/17
                                        somehow          [2]  10/24 17/6              tell [1] 5/10
reveal [1] 7/10
                                        someone         [2]   13/3 16/4               telling [1] 13/15
review [6] 6/12 6/14 7/2 19/2 19/20
                                        something [8] 4/12 4/25 8/20 9/11             tells [1] 14/21
 21/20
                                         11/11 13/2 21/18 22/3                        terrorist [9] 10/9 12/2 12/11 12/19
reviewed [1] 19/10
                                        soon [1] 4/19                                  14/3 14/16 20/19 20/22 21/5
reviewing [1] 19/21
                                        sorry [1] 20/9                                testified [1] 5/6
revisit [1] 9/12
                                        sort [1] 4/11                                 testify [1] 7/7
right [3] 6/9 10/5 17/20
                                        sought      [4]    8/4 8/7 8/25 12/9          testimony [1] 22/12
risk [5] 10/13 10/14 10/16 14/9 15/6
                                        sounds       [1]   18/6                       than [2] 4/21 7/16
Room [1] 2/2
                                        source      [5]   7/18 7/21 9/5 11/16 14/2    thank [7] 5/1 7/14 14/7 18/5 18/17
rose [1] 4/16
T                                          20/21 21/4                               will [9] 4/7 5/13 7/2 9/12 14/11 15/5
        Case 1:17-cr-00046-RBW  Document
                             unnamed [2] 8/2 99
                                             8/3 Filed 02/28/1815/16
                                                                  Page
                                                                     15/1728 of 28
                                                                           17/1
thank... [2] 21/11 22/5
                                           until [4] 5/5 18/9 18/15 19/20        William [2] 1/23 3/11
that [123]
                                           unusual [1] 14/22                     wish [1] 10/12
that's [10] 5/9 5/20 6/16 6/22 11/4
                                           up [3] 4/12 10/18 19/23               within [2] 7/3 9/20
 13/23 14/4 15/2 19/25 20/1
                                           us [3] 13/15 17/3 18/16               without [2] 13/14 18/3
their [1] 18/10
                                           use [3] 8/9 8/10 16/3                 witness [4] 5/6 11/8 11/13 22/17
them [7] 4/1 4/5 4/5 4/15 4/22 17/12
                                                                                 workable [1] 5/7
 18/16                                     V                                     working [1] 11/17
then [6] 4/13 9/12 9/16 11/8 11/12
                                           vacuum [1] 7/24                       works [1] 5/22
 21/16
                                           various [1] 9/6                       world [1] 15/8
theory [1] 3/25
                                           venue [1] 8/12                        would [22] 4/1 4/13 4/18 4/22 5/1 5/12
there [21] 3/14 3/17 3/20 4/24 6/18
                                           versus [1] 3/3                        5/19 5/21 6/15 7/6 7/11 7/12 9/13 10/2
 6/19 6/21 7/4 9/1 10/23 11/11 11/15
                                           very [11] 9/18 10/4 11/15 13/16 14/20 11/12 13/7 15/9 15/10 15/15 16/5 17/3
 14/10 15/8 15/9 15/10 16/15 16/15
                                            14/25 15/21 16/8 16/10 20/5 21/16    18/1
 16/18 17/5 17/19
                                           Virginia [1] 14/1                     written [2] 19/12 19/12
there's [11] 6/14 6/19 8/19 9/3 9/7
 11/22 13/25 16/14 19/21 21/12 21/18       W                                        Y
Thereupon [1] 22/6                         waive [3] 18/23 19/8 19/19               year [1] 9/5
these [5] 7/8 8/3 8/19 10/15 11/12         walking [1] 13/18                        Yes [4] 6/6 9/22 14/7 18/17
they [28]                                  WALTON [1] 1/9                           York [2] 1/17 1/20
they'd [1] 21/14                           want [13] 9/23 10/8 10/19 10/19 10/22    you [45]
they're [1] 14/4                           11/21 12/3 12/6 15/2 16/1 18/10 19/3     you're [2] 17/8 19/15
thing [3] 4/17 5/12 10/5                   20/10                                    you've [2] 19/10 21/19
things [7] 3/15 11/14 11/15 13/14          wants [3] 12/1 13/24 14/12               your [37]
 15/20 16/8 21/22                          was [19] 4/24 5/17 5/20 7/4 7/22 9/2     yourselves [1] 3/5
think [13] 4/17 5/10 5/20 7/7 15/5 16/3    9/7 10/20 10/20 13/15 16/1 16/2 16/16
 18/24 19/2 19/4 19/10 19/21 19/25         17/10 17/16 17/17 17/18 17/19 19/17      Z
 21/14                                     Washington [5] 1/5 1/14 1/17 1/25 2/3    ZUCKERMAN [2] 1/24 3/12
thinks [1] 21/18                           wasn't [1] 12/24
third [3] 15/14 15/18 15/20                watching [1] 15/21
thirdhand [1] 7/22                         way [6] 7/13 8/6 8/21 13/13 15/20
this [43]                                  21/19
Thomas [1] 1/12                            we [57]
those [3] 3/21 8/16 8/20                   we'd [3] 18/13 19/24 22/1
thought [2] 4/16 19/17                     we'll [4] 6/2 9/16 21/21 22/3
through [3] 6/13 13/19 20/21               we're [11] 4/11 10/9 10/10 10/17 13/17
throughout [1] 5/14                        13/18 14/16 14/17 14/18 14/19 18/23
ties [2] 11/4 16/9                         we've [3] 11/25 13/1 15/4
time [6] 5/9 5/11 5/14 11/2 15/1 19/20     week [8] 7/3 9/20 9/20 13/16 19/4
today [6] 3/15 3/18 12/19 14/8 14/18       19/23 20/8 21/21
 22/4                                      weeks [1] 5/11
Tom [1] 3/6                                weight [2] 11/10 16/6
took [2] 16/19 16/22                       well [10] 9/9 9/18 10/4 10/16 13/17
transactions [4] 20/17 20/18 20/21         16/2 18/14 19/18 20/5 21/16
 21/4                                      went [1] 12/17
transcribed [1] 22/16                      were [17] 3/20 4/12 4/23 6/12 7/7 8/2
transcript [2] 1/8 22/15                   8/9 8/17 8/18 8/18 8/20 8/23 11/10
translated [1] 17/13                       17/13 17/25 18/2 21/1
treatment [1] 21/24                        what [28]
treaty [2] 15/10 16/14                     What's [1] 3/25
trial [6] 4/10 5/11 5/14 13/23 17/2 18/3   whatever [2] 8/17 10/20
triple [1] 7/19                            when [8] 4/6 5/18 8/23 13/4 13/18
try [4] 8/25 9/19 9/23 22/2                15/3 15/12 19/4
trying [1] 14/13                           whenever [1] 4/15
Tuesday [3] 18/9 18/12 18/16               where [5] 7/20 8/1 8/1 15/9 16/13
two [2] 3/20 6/3                           whereof [1] 22/17
U                                          whether [22] 3/22 7/21 7/22 8/2 9/2
                                           9/11 9/13 11/1 11/11 11/16 11/20
U.S [4] 1/16 2/2 3/7 20/17                 11/22 11/24 12/23 13/21 13/24 14/2
ultimately [1] 9/10                        14/8 14/9 16/1 21/23 22/1
under [2] 7/11 10/25
                                           which [8] 7/4 10/10 10/25 10/25 12/25
understand [1] 15/16                       16/3 16/11 20/16
understood [1] 9/24
                                           who [2] 7/10 11/17
UNITED [13] 1/1 1/3 1/10 1/13 1/19
                                           whose [1] 12/8
3/3 10/12 12/10 12/13 15/7 15/10
                                           why [7] 3/25 10/14 10/15 11/3 11/5
20/19 22/10
                                           15/8 17/23
unlawful [6] 8/20 16/2 20/17 20/18
